Case 1:04-cv-10981-PBS Document 1672-6 Filed 02/23/09 Page 1 of 3

EXHIBIT 5
Case 1:04-cv-10981-PBS Document 1672-6 Filed 02/23/09 Page 2 of 3

Hoskins, Buford (Smith) 10/24/2007 12:55:00 PM

 

 

 

 

3
IN THE UNITED STATES DISTRICT COURT 4 INDEX
FOR THE DISTRICT OF MASSACKUSETTS 2 WITNESS: BUFORD HOSKINS
IN RE: NEURONTIN MARKETING, SALES ) 3 INDEX OF EXAMINATIONS
PRACTICES AND PRODUCTS LIABILITY ) 4 Page/Line
LITIGATION ) 5 ByMr. Ferguson ww. GOS
) 6
) 7
) 8
9
)
) CASE NO. 10
)04-10981 "
12.
THIS DOCUMENT RELATES TO: )
13
14
RUTH SMITH, Individually and as J 15
Widow for the use and benefit of ) 46
herself and the next of kinof 47
Richard Smith, deceased. ) 48
} 19
05-C'V-11515 } 20
) 21
VIDECTAPED DEPOSITION OF 22
BUFORD HOSKINS 23
Taken on Behalf of the Defendant 24
October 24, 2007 25
4
1 APPEARANCES: t
: For Oe nee 5. SOH 2 The videotaped daposition of
Lanier Law Firm 3 BUFORD HOSKINS, taken on behaif of the Defendant,
4 68710 F.M. 1960 West 4 on the 24th day of October, 2007, in the John Hood
5 eee aoe 77068 5 Conference Room of Sheraton Music City Hotel,
713.659.6416 6 777 McGavock Pike, Nashville, Tannessea, for all
6 wmi@lanierlawiirm.com 7 purposes under the Federa! Rules of Civil
kss@lanienawfirm.com 8 Procedure
7 meck@lanierlawiirm.com .
8 9 The formalities as to notice,
9 For the Defendant: 10 caption, certificate, et cetera, are waived. Alt
KENNETH J. FERGUSON 11. objections, except as to the form of the
10 Glark, Thomas & Winters 12 questions, are reservad to the hearing.
1 etn ee ee? 19 It is agreed that Elisabeth A.
ustin, Texas .
512.472.8800 14 Miller, being a Notary Public and Court Reporter
12 §12.474,1129 15 for the State of Tennessee, may swear the witness,
13 ki@ctw.com 16 and that the reading and signing of the completed
14 Also Present: Amanda Martin, Videographer 17 deposition by the witness are waived.
15 18
16
17 19
18 20
19 21 aha
20
21 22
22 23
24
35 25

 

 

Neurontin Track One (Plaintiff / Prescriber / Expert Depos)

Page - -4
Case 1:04-cv-10981-PBS Document 1672-6 Filed 02/23/09 Page 3 of 3

Hoskins, Buford (Smith) 10/24/2007 12:55:00 PM

 

 

 

44 43
1 among the family members about whether or not an + that from all your past contacts with him, what
2 autopsy would be performed? 2 you knew about him?
3. A. I did not overhear any of them, no. 3. «A. ~~ dust not his character, Ken.
4  Q. Okay. Were you aware of whether or not 4° Q. Have you ever looked at the medical
§ ~~ Mrs. Smith or the rest of the family took a 5 records regarding Mr. Smith's treatment over the
6 position as to whether an autopsy should be 6 last year or so of his life? ©
7 performed or nat? 7 A. Over the last year of his life?
& A. Yes, | do know that they — they wanted — & QQ. Yas, sir.
$ they did not want one. 9 A. No.
10 @. And then how do you know that? 10 Q. Have you ever looked at any medical
41. A. [knew they were discussing that with the 11. records regarding treatment of Mr. Smith by any
12. = police officer. 12. = medical care practitioners?
43° Q. Do you know from these discussions why 13° 0A. No, / haven't.
14° they did not want an autopsy? 14 Q. Other than what you and | have discussed
15° A. - Not -- not particularly, no. 15 today and excluding anything that you may have
16 @. Was this something they were discussing 16 9 discussed with Mr. Soh, do you have any knowledge
417 ~— with David Crowder or another police officer? 1? about what the medical records show over the last
18 A. | believe it was with the lead police 18  severa! months of his life regarding the -- the
19 investigator there. 19 intensity and the type of pain he was having?
20 Q. Okay, Was that Detective Satterfield, if 200A, ONO, I don't,
21° you know? 21. 9. 9 And and other than, again, what we have
22) «OA. I believe that's his name, yes. 22 ~= discussed today and what you may have discussed
23. Q. ~~ Bid you ever at any time either that day 23° with Mr, Soh, you're not aware of what the medical
24s or subsequently have any discussion with 24 records say with -- regarding to any depression
25 = Ruth Smith or your wife or any of her sisters 25 = that was reported in relation to Mr. Smith or
42 44
41 about why you believed that Mr. Smith had -- had 1 statements about possible suicide?
2 taken this act ~ action? 2 MR. SOH; Objection, form.
3. A. sI'msory. Could you — 3 THE WITNESS: Could you rephrase
4 @Q. Sure. 4 that, Ken?
5 A. -- bea little more clear about it. 5 8Y MR. FERGUSON:
6 Q. Did y'all talk about why he hac committed 6 QQ. Sure,
7 ~~ suicide? 7 A. Pmonot sure t understand what you're
8 <A. I'm sure we discussed it. | just don't 8 talking about.
9s recall any of the conversations, no. 9 @. Whatever the medica! records say or don't
10 @. Go you recall why you thought he had 10 say about depression of Mr. Smith or comments he
11. committed suicide, if you — if you had any 11. made about wanting to die, you're not aware of any
12. thoughts? 12 of that, other than what you and | have talked
13° A. Thad —1 had - the only thoughts | had 13° about today? ,
14° were | was just confused by ail of it. 14 A. That's right.
158 Q. Okay. Why was that? 15° @. ~ Did you ever lock at his — the note he
16 =A. It was just not like Mr. Smith to do 16 left when he committed suicide?
1? — something like that. 17. A. Yes, I've read the note.
18 Q. — Inwhat way? 18 &. And just —let me show you a copy of
19° AL Well, he was a very spiritual-minded man. 19 that. I'll represent to you that's a photocopy of
20 =H was the spiritual leader of our family. He 20s the — the note that was found in the bedroom when
21 would not have done anything to hurt himself or 21 = ~Mr. Smith died. Does that appear to be the note
22 his family or hig grandchildren, That's just — 22. «-you've seen previously?
23 > was very confusing about what had happened. 23° =A. Yes, itis.
24 @. When you say that he would not have done 24 @. And did that note help clear up any of the
25 anything to hurt his family, f mean, you're taking 25 confusion that you talked about with regard to why

 

 

 

Neurontin Track One (Plaintiff / Prescriber / Expert Depos)

Page 41 - 44
